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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
–––––––––––––––––––––––––––––––––––––––––          x
TIGER MINES NEW YORK, INC.,                        :
                                                   :
                                   Plaintiff,      : 24-CV-05905 (VEC)
                                                   :
                        v.                         :
                                                   : RULE 7.1 STATEMENT
TETHER HOLDINGS LIMITED, TETHER                    :
OPERATIONS LIMITED, TETHER LIMITED,                :
and TETHER INTERNATIONAL LIMITED                   :
                                                   :
                                   Defendants.     :
––––––––––––––––––––––––––––––––––––––––– x
      Pursuant to Federal Rule of Civil Procedure 7.1, Defendants state as follows: (1) Tether

Operations Limited, Tether Limited, and Tether International Limited state that their parent

company is Tether Holdings Limited; and (2) Tether Holdings Limited states that it has no parent

company. No publicly held corporation owns 10% or more of any of the Defendants.

       Defendants also state that Tether Holdings Limited, Tether Operations Limited, and Tether

International Limited are British Virgin Islands corporations and Defendant Tether Limited is a

Hong Kong corporation.

 Dated: New York, New York                        KRAMER LEVIN NAFTALIS & FRANKEL LLP
        September 17, 2024
                                                  By: : /s/Barry H. Berke                          .
                                                  Barry H. Berke
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